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                                                       - 849 -
                               Nebraska Supreme Court Advance Sheets
                                        306 Nebraska Reports
                                   STATE EX REL. COUNSEL FOR DIS. v. SCHILD
                                              Cite as 306 Neb. 849



                       State of Nebraska ex rel. Counsel for Discipline
                          of the Nebraska Supreme Court, relator,
                              v. Christine M. Schild, respondent.
                                                   ___ N.W.2d ___

                                        Filed August 14, 2020.   No. S-20-368.

                    Original action. Judgment of suspension.
                 Heavican, C.J., Miller‑Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.
                    Per Curiam.
                                     INTRODUCTION
                  The State Bar of Arizona entered a “Final Judgment and
               Order” regarding the respondent, Christine M. Schild, on April
               17, 2020. The Counsel for Discipline of the Nebraska Supreme
               Court, the relator, filed a motion for reciprocal discipline
               against the respondent. We grant the motion for reciprocal dis-
               cipline and impose a suspension of 6 months and 1 day.
                                             FACTS
                  The respondent was admitted to the practice of law in the
               State of Nebraska in 1983, in Minnesota in 1985, in Florida in
               1990, and in Arizona in 1994. From 1994 to 2014, the respond­
               ent only actively engaged in the practice of law in Arizona. In
               1994, she retired due to a disability and changed her status to
               inactive in these jurisdictions.
                  On April 17, 2020, the State Bar of Arizona issued an
               order entered on the consent of the parties that found that the
               respond­ent violated the Arizona Rules of Professional Conduct.
                             - 850 -
         Nebraska Supreme Court Advance Sheets
                  306 Nebraska Reports
            STATE EX REL. COUNSEL FOR DIS. v. SCHILD
                       Cite as 306 Neb. 849
The order suspended the respondent from the practice of law
for 6 months and 1 day, effective April 17. The respondent
conditionally admitted that she violated the “Arizona Supreme
Court Rules of Professional Conduct (Rule 42),” specifically
“ER 3.3” (candor toward the tribunal), “ER 5.5” (unauthorized
practice of law), “ER 8.1” (bar admissions and disciplinary
matters), and “ER 8.4(c) . . . and (e)” (misconduct), as well
as “Rules of the Arizona Supreme Court (Rule 41),” includ-
ing subsection (c) (maintaining the respect due to courts of
justice and judicial officers) and subsection (g) (unprofessional
conduct). The charges arose from the respondent’s unautho­
rized practice of law, subsequent lie that she did not represent
clients, and other related behavior.
   On May 14, 2020, the relator filed a motion for reciprocal
discipline pursuant to Neb. Ct. R. § 3‑321 of the discipli­
nary rules. The motion stated that the above‑cited Arizona
Supreme Court rules are in sum and substance the equivalent
of Neb. Rev. Stat. § 7‑104 (Reissue 2012) and Neb. Ct. R.
of Prof. Cond. §§ 3‑503.3 (rev. 2016), 3‑505.5 (rev. 2012),
and 3‑508.4 (rev. 2016), as well as the “lawyer’s responsi-
bilities” identified in the preamble of the Nebraska Rules of
Professional Conduct.
   This court filed an order to show cause as to why it should
not impose reciprocal discipline. On May 26, 2020, the relator
filed a response that requested reciprocal discipline of a period
of suspension without specification. On May 29, the respond­
ent filed a response in which she requested that this court
impose identical discipline to that imposed in Arizona.
                          ANALYSIS
   The basic issues in a disciplinary proceeding against an
attorney are whether discipline should be imposed and, if so,
the type of discipline appropriate under the circumstances.
State ex rel. Counsel for Dis. v. Murphy, 283 Neb. 982,
814 N.W.2d 107 (2012). In a reciprocal discipline proceed-
ing, a judicial determination of attorney misconduct in one
jurisdiction is generally conclusive proof of guilt and is not
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          Nebraska Supreme Court Advance Sheets
                   306 Nebraska Reports
            STATE EX REL. COUNSEL FOR DIS. v. SCHILD
                       Cite as 306 Neb. 849
subject to relitigation in the second jurisdiction. Id. Neb. Ct.
R. § 3‑304 of the disciplinary rules provides that the following
may be considered as discipline for attorney misconduct:
         (A) Misconduct shall be grounds for:
         (1) Disbarment by the Court; or
         (2) Suspension by the Court; or
         (3) Probation by the Court in lieu of or subsequent to
      suspension, on such terms as the Court may designate; or
         (4) Censure and reprimand by the Court; or
         (5) Temporary suspension by the Court; or
         (6) Private reprimand by the Committee on Inquiry or
      Disciplinary Review Board.
         (B) The Court may, in its discretion, impose one or
      more of the disciplinary sanctions set forth above.
Section 3‑321 of the disciplinary rules provides in part:
         (A) Upon being disciplined in another jurisdiction, a
      member shall promptly inform the Counsel for Discipline
      of the discipline imposed. Upon receipt by the Court of
      appropriate notice that a member has been disciplined in
      another jurisdiction, the Court may enter an order impos-
      ing the identical discipline, or greater or lesser discipline
      as the Court deems appropriate, or, in its discretion, sus-
      pend the member pending the imposition of final disci-
      pline in such other jurisdiction.
In imposing attorney discipline, we evaluate each case in light
of its particular facts and circumstances. State ex rel. Counsel
for Dis. v. Murphy, supra.
   Upon due consideration of the record, and the facts as
determined by the State Bar of Arizona, we determine that
suspension is appropriate. Therefore, we grant the motion for
reciprocal discipline and impose a suspension of 6 months and
1 day.
                       CONCLUSION
  The motion for reciprocal discipline is granted. The respond­
ent is suspended from the practice of law for 6 months and
1 day. The respondent shall comply with all notification
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         Nebraska Supreme Court Advance Sheets
                  306 Nebraska Reports
           STATE EX REL. COUNSEL FOR DIS. v. SCHILD
                      Cite as 306 Neb. 849
requirements by suspended members provided by Neb. Ct. R.
§ 3‑316 (rev. 2014), and upon failure to do so, shall be subject
to punishment for contempt of this court. The respondent is
directed to pay costs and expenses in accordance with Neb.
Rev. Stat. §§ 7‑114 and 7‑115 (Reissue 2012) and Neb. Ct. R.
§§ 3‑310(P) (rev. 2019) and 3‑323(B) of the disciplinary rules
within 60 days after an order imposing costs and expenses, if
any, is entered by the court.
                                   Judgment of suspension.
